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Proposed Counsel for Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                              Chapter 11
    In re:

    RM BAKERY LLC,                                            Case No. 20-11422

                                      Debtor.

                                                              Chapter 11
    In re:

    BKD GROUP LLC,                                            Case No. 20- 11423

                                      Debtor.



                   DEBTORS’ MOTION FOR AN ORDER DIRECTING JOINT
                  ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                    The above-captioned debtors and debtors-in-possession (collectively, the

“Debtors”), by and through their undersigned proposed counsel, submit this motion (the

“Motion”) for entry of an order substantially in the form submitted herewith (i) directing the

joint administration of these chapter 11 cases for procedural purposes only, and (ii) authorizing

the Debtors to file a consolidated list of top twenty creditors. In support of this Motion, the



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    During the coronavirus pandemic, please address all mail to: 48 Seneca Street, Dobbs Ferry, NY 10522.
Debtors submit the Declaration of Mark Rimer Pursuant to Local Bankruptcy Rule 1007-2 in

Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed

contemporaneously herewith, and respectfully state as follows:

             JURISDICTION, VENUE, AND STATUTORY PREDICATES

       1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska,

C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b) and, pursuant to Rule 7008 of

the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”). Venue is proper in this

district pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.     The statutory predicate for the relief sought herein is rule 1015(b) of the

Bankruptcy Rules.

                                       BACKGROUND

       3.     On June 15, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et.

seq. (the “Bankruptcy Code”), commencing the above-captioned chapter 11 cases (collectively,

the “Chapter 11 Cases,” and each, a “Chapter 11 Case”) in the United States Bankruptcy Court

for the Southern District of New York.

       4.     The Debtors are operating their businesses and managing their property as

debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of the

filing of this Motion, no request has been made for the appointment of a trustee or examiner

and no statutory committee has been appointed in the Chapter 11 Cases.

       5.     A detailed description of the Debtors’ business and the facts surrounding the

commencement of the Chapter 11 Cases is set forth in the First Day Declaration, which is
incorporated herein by reference.

                                           RELIEF REQUESTED

             6.    By this Motion, the Debtors request entry of an order directing the joint

administration of their Chapter 11 Cases for procedural purposes only. Specifically, the Debtors

request that the Court maintain one file and one docket for the jointly-administered cases.

             7.    The Debtors propose to designate the Chapter 11 Case of RM Bakery LLC as the

main bankruptcy case.

             8.    Accordingly, the Debtors request that the Chapter 11 Cases be administered

under the following consolidated caption:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 11

    RM BAKERY LLC, et al.,2                                   Case No. 20-         (____)

                                     Debtors.                 (Jointly Administered)




             9.    The Debtors also request that a docket entry be made in each of the above-

captioned cases, substantially similar to the following, to reflect the joint administration of the

Chapter 11 Cases:

                   An order has been entered in accordance with rule 1015(b) of the Federal
                   Rules of Bankruptcy Procedure directing the procedural consolidation
                   and joint administration of the chapter 11 cases of RM Bakery LLC and
                   BKD Group LLC. All further filings and docket entries shall be made in
                   the chapter 11 case of RM Bakery LLC, Case No. 20-_____ (___).

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      The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number
      are as follows: RM Bakery LLC (7954) and BKD Group LLC (0642).
       10.     The Debtors request authority to file a single consolidated list of top 20 creditors

in each of the Chapter 11 Cases.

                                     BASIS FOR RELIEF

       11.     Bankruptcy Rule 1015(b) provides that “[i]f a joint petition or two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtors in these Chapter

11 Cases are RM Bakery LLC and BKD Group LLC. The Debtors are “affiliates” as defined

under section 101(2) of the Bankruptcy Code and as used in Bankruptcy Rule 1015(b), in that

RM Bakery LLC is wholly owned by BKD Group LLC.

       12.     Bankruptcy Rule 1015 promotes the fair and efficient administration of multiple

cases of affiliated debtors while protecting the rights of individual creditors. See In re N.S.

Garrott & Sons, 63 B.R. 189, 191 (Bankr. E.D. Ark. 1986); In re Hemingway Transp., 954 F.2d

1, 11 (1st Cir. 1992).

       13.     Section 105(a) of the Bankruptcy Code also provides the Court with the power

to grant the relief requested herein. Specifically, section 105(a) states that a bankruptcy court

“may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

       14.     These Chapter 11 Cases should be administered jointly because joint

administration will obviate the need for duplicative notices, motions, and orders, and thereby

save considerable time and expense for the Debtors, their estates, and the Court.

       15.     The Debtors anticipate that numerous notices, motions, other pleadings,

hearings, and orders in these Chapter 11 Cases will affect more than one of the Debtors. The

failure to jointly administer these cases would result in the filing and service of numerous
duplicative pleadings. Such duplication of substantially identical documents would be wasteful.

       16.     Joint administration will permit the Clerk of the Court to use a single general

docket for each of the Debtors’ cases and to combine notices to creditors of each Debtor’s estate

and other parties-in-interest. Joint administration will also protect parties-in-interest by ensuring

that parties-in-interest in each Chapter 11 Case will be apprised of the various matters before

the Court in the Chapter 11 Cases.

       17.     The rights of the respective creditors of the Debtors will not be adversely affected

by the proposed joint administration of these Chapter 11 Cases because each creditor may still

file its claim against a particular Debtor. In fact, the rights of all creditors will be enhanced by

the reduced costs that will result from the joint administration of these Chapter 11 Cases. The

Court will also be relieved of the burden of entering duplicative orders and maintaining

redundant files.

       18.     The Debtors also submit that supervision of the administrative aspects of these

Chapter 11 Cases by the Office of the United States Trustee will be simplified if the cases are

jointly administered as requested herein.

       19.     Finally, the Debtors submit that filing a single top 20 consolidated list of creditors

in each of the Chapter 11 Cases is an efficient use of estate resources and will not impact or

prejudice the rights of any party.

                                     NO PRIOR REQUEST

       20.     No previous motion for the relief sought herein has been made to this or to any

other court.
                                            NOTICE

       21.     Notice of this Motion has been given to (i) the Office of the United States Trustee

for the Southern District of New York; (ii) Counsel to the Debtors’ secured lenders, Pacific

Western Bank and Mayrich Capital LLC; (iii) the Debtors’ proposed DIP Lender, FS Lenders

2015 LLC, (iv) the Internal Revenue Service, (v) the United States Attorney for the Southern

District of New York, (vi) the Debtors’ twenty largest unsecured creditors on a consolidated

basis, and (vii) all parties entitled to notice under Local Bankruptcy Rule 9013(b). In light of

the nature of the relief requested herein, the Debtors respectfully submit that no other or further

notice is required.

               WHEREFORE, the Debtors respectfully request that this Court: (i) enter an

order, substantially in the form submitted herewith, granting the relief requested herein; and (ii)

grant the Debtors such other and further relief as the Court deems just and proper.

Dated: June 17, 2020
       New York, New York

                                             MAYERSON & HARTHEIMER, PLLC
                                             By:     s/ Sandra E. Mayerson
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